                                                    SE L

                      IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DMSION


 IN THE MATTER OF THE
 APPLICATION TO OBTAIN
 LOCATION DATA CONCERNING                        Magistrate Case No. / .' 20-TJ'iJ-\'232.-0
 THE CELLULAR TELEPHONE
 ASSIGNED CALL NUMBER (470) 462-                 Filed Under Seal
 9908


                           AFFIDAVIT IN SUPPORT OF
                    AN APPLICATION FOR A SEARCH WARRANT

      I, Special Agent James D. Byers, being first duly sworn, hereby depose and

state as follows:

                                    INTRODUCTION

     1.       I submit this affidavit in support of an application for the renewal and

extension of a search warrant filed August 12, 2020 (7:20-mj-1191-RJ) under Federal

Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c) to authorize law enforcement

to employ an electronic investigative technique, described in Attachment B, for

information about the location of the cellular telephone assigned call number (470)

462-9908 (the "TARGET CELL PHONE"), described in Attachment A, whose

service provider is Verizon Wireless (''the Provider"), a wireless telephone service

provider that is headquartered at 180 Washington Valley Road, Bedminster, NJ,

07921.

    2.       As stated below, the information provided by this order will be helpful

in establishing patterns of travel and locations frequented by DON EUGENE NIXON



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    Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 1 of 20
JR. a/kla "Storm," a/kJa "Redd," (hereinafter, "NIXON"). However, the information

requested in this search warrant will also help to develop further details concerning

NIXON's drug trafficking activities and organization.

     3.       Based on information obtained through the course of this investigation,

I believe the cui-rent user of this device is an individual named NIXON, who is

involved in the distribution of heroin and cocaine. Verizon Wireless is a provider of

wireless communications service, Verizon Wireless is a provider of an electronic

communications service, as defined in 18 U.S.C. § 2510(15).

     4.      Based on the fact    et fort h in this affidavit, there is probable cau e to

believe that violations of 21 U.S.C. §§ 841(a) and 846 (possession and dist ribution of

controlled substances and conspiracy to distribute and pos ess with the intent to

distribute controlled substances), have been committed, are being committed, and

will be committed by an unknown subscriber listed as Tracphone Wireless, Inc.

utilizing the TARGET CELL PHONE. There is also probable cause to search the

information described in Attachment A for evidence, instrumentalities, contraband,

or fruits of these crimes as further described in Attachment B.

     5.      The court has jurisdiction to issue the proposed warrant because it is a

"courtofcompetentjurisdiction" as defined in 18 U.S.C. § 2711. Specifically, the Court

is a district court of the United States that has jurisdiction over the offense being

investigated. See 18 U.S.C. § 2711(3)(A)(i).

    6.       The TARGET CELL PHONE is described herein and in Attachment

A, and the location information to be seized i described herein and in Attachment B.


                                           2



    Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 2 of 20
                              AGENT BACKGROUND

     7.       I have been employed by the FBI for over five years. I have served as a

Special Agent with the FBI for approximately one year and previously served as an

FBI Intelligence Analyst for approximately four years. In these positions, I have been

responsible for investigating variou violations of federal law, including but not

limited to violations of the Controlled Substances Act. I have experience and received

training in federal law enforcement investigations. I have participated in the

execution of numerous search and arrest warrants involving drug and. firearms

offenses and gathered drug,         firearms   and non-firearms related evidence.

Additionally, I have participated in interviews of witnesses and conducted

surveillance of investigation targets. It is within my duties as a Special Agent to

investigate complex state and federal d1·ug trafficking conspiracy cases using the

electronic interception of telephonic communications and the use of vehicular GPS

systems to supplement physical surveillance. I have directed and participated in

investigations of criminal violations of the Controlled Substances Act, including, but

not limited to, Title 21, United States Code, Sections 841, 843, 846, and Title 18,

United States Code, Sections 922, and 924; as well as the aiding and abetting the

above offenses, in violation of Title 18, United States Code, Section 2.

    8.       As a Special Agent, I have participated in numerous investigations of

drug trafficking offenses related to heroin, cocaine, fentanyl, and other illegal

narcotics. I have conducted or participated in     urveillance operations, controlled


                                          3


     Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 3 of 20
purchases of illegal narcotics, the execution of search and arrest warrants,

debriefings of informants, analyzing pen registers, and monitoring court-authorized

wire intercepts.

     9.       Based upon your affiant's training, experience, and participation in

investigations of suspects involved with large amounts of heroin, cocame, and/or

other controlled substances, your affiant knows:

     a.      Drug traffickers frequently use cellular telephones to conduct their drug

trafficking activities. Drug traffickers frequently use cellular telephones to make and

receive phone calls and send and receive messages via "Short Message Service"

("SMS") or "Multimedia Messaging Service" ("MMS"), which are often referred to

generically as "text messages", to communicate with their sources of supply of drugs

and drug customers in order to negotiate and facilitate the purchase and sale of drugs.

     b.      Drug traffickers frequently change, drop, discontinue and/or further

compartmentalize cellular telephones in the event of law enforcement actions. Drug

traffickers commonly employ these tactics to insulate themselves and protect their

interest in the organization as well as the organization's interest.

    c.       Drug traffickers frequently use "stash houses", which are residences or

other buildings which are separate from their place of residence used to store drugs,

weapons, and/or the proceeds of their drug transactions. Often, "stash houses'; are

purchased or rented under another individual's name in order to insulate the drug

trafficker and make it more difficult for law enforcement to identify the location of

drugs, weapons, and the proceeds of drug transactions.


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    Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 4 of 20
      10.     Through this experience, I am familiar with drug traffickers' methods of

operation, including techniques commonly used to distribute, store, and transport

narcotics, as well as to collect and launder proceeds of their narcotics trafficking

activities. Through my experience with the FBI as a special agent and working with

other narcotics officer I am also familiar with the coded language, or slang, narcotics

buyers and sellers use to communicate related to drug transactions.

     11.      The facts in this affidavit come from my per onal observations, my

training and experience, my reviews of documents and prison telephone calls,

analysis of telephone toll information, information provided by sources of

information, and information obtained from other agents and witnesses. The affidavit

is intended to show merely that there is probable cause for the 1·equested warrant

and does not set forth all of my knowledge about this matter.

     12.      Based on the facts set forth in this affidavit, there is probable cause to

believe that violations of 21 U.S.C. §§ 841 and 846 (hereinafter referred to as

' TARGET OFFENSES") have been committed, are being committed, and will be

committed by "NIXON". There is also probable cause to believe that the location

information described. in Attachment B will constitute evidence of these criminal

violations, and will lead to the identification of "NIXON" and other individuals who

are engaged in the commission of these offenses.

     13.     Because collecting the information authorized by this warrant may fall

within the statutory definitions of a "pen register" or a "trap and trace device," see 18

U.S.C. § 3127(3) & (4), this warrant is designed to comply with the Pen Register


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     Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 5 of 20
Statute as well as Rule 41 and 18 U.S.C. § 2703(c). See 18 U.S.C. §§ 3121-3127. This

warrant therefore includes all the information required to be included in a pen

register order. See 18 U.S.C. § 3123(b)(l).

                                      PROBABLE CAUSE

     14.        In February 2020, the FBI began working to investigate a Drug

Trafficking Organization (DTO) operating in the Wilmington, North Carolina area.

During the course of the investigation, it was learned that NIXON was involved in

the distribution of large quantities of heroin and cocaine in the Wilmington area.

During interviews with cooperating defendants and confidential sources of

information, the FBI learned that NIXON and members of the DTO were involved

in the trafficking of heroin and cocaine dating back to at least 2017. NIXON is

known to distribute significant amounts of narcotics in the Wilmington, NC area.

NIXON's DTO supplies multiple narcotics dealers in the Wilmington, NC area as

well as other parts of North Carolina.

     15.        During the cour e of the investigation, agents have conducted numerous

interviews of people familiar with NIXON's DTO. Through these interviews, agents

have identified numerous persons that are supplied by NIXON and his DTO with

heroin and other narcotics in the Wilmington, NC area.

     16.        In Mru·ch 2020, Cooperating Defendant I (hereinafter, "CD-I") informed

investigators     that   CD-I   had   accompanied   an   individual   who   purchased

approximately one ounce of raw heroin on approximately four separate occasion




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     Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 6 of 20
from NIXON at a stash house used by NIXON to store illegal narcotics near Scotts

Hill, NC from 2018 until CD-l's a1·rest in 2019.

     17.     In May 2020, Confidential Human Source 1 (hereinafter, "CHS-1"),

informed   investigators   that CHS-1 purchased       heroin from     NIXON from

approximately September 2017 until approximately July 2019. CHS-1 contacted

NIXON via telephone calls and text messages to order heroin from NIXON at several

different telephone numbers during this time. CHS-1 informed investigators of two

stash houses in the Wilmington,    C a1·ea used by NIXON to store illegal narcotics.

CHS-1 also informed investigators that JERMAINE PIERRE THOMAS is a heroin

dealer who is friends with NIXON. CHS-1 further informed investigators that

TERRY WAYNE SHERMAN is a heroin dealer who knows both NIXON and

THOMAS.     CHS-1 has been proven in the past to provide truthful and reliable

information validated by law enforcement.

     18.     On or about July 2, 2020, CHS-I informed investigators that NIXON's

new telephone number was the TARGET CELL PHONE.

     19.    On or about the afternoon of July 8, 2020, CHS-I placed a telephone call

to the TARGET CELL PHONE and spoke with NIXON in the presence of

investigators. Investigators recognized the voice of the individual using the TARGET

CELL PHONE as NIXON based on the investigators' familiarity with NIXON's voice

gained from listening to prior jail calls made to a phone used by NIXON which had

the same IMEI as the TARGET CELL PHONE.

    20.     On or about the evening of July 8, 2020, NIXON contacted CHS-1 using


                                         7


    Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 7 of 20
the TARGET CELL PHONE and then met up with the CHS-1 in person. NIXON

told CHS-1 he had been staying out of town and believed law enforcement was

watching him because two individuals he supplied with heroin had been arrested

recently. NIXON told CHS-1 these individuals were ''Wehe" (known to your affiant as

HERMAN BREW1NGTON) and JEREMY GREENE. NIXON told CHS-1 that

NIXON would bririg CHS-1 heroin before he left town again.

     21.      On or about June 22, 2020, the Wilmington Police Department (WPD)

executed search warrants on the residence and vehicle of HERMAN BREWINGTON

and located approximately $7,400 in U.S. currency, approximately 14 grams of raw

heroin, and a small amount of marijuana. WPD then arrested BREWINGTON and

charged him with several drug offenses, including trafficking heroin.

     22.     On or about June 26, 2020, the New Hanover County Sheriffs Office

(NHCSO) executed a search warrant at the residence of JEREMY RUSSELL

GREENE and seized approximately 80 grams of raw heroin, three guns,

methamphetamine, and marijuana. NHCSO arrested GREENE and charged him

with multiple drug offenses, to include: two counts of trafficking heroin, possession of

a firearm by a felon, possession of heroin, possession of methamphetamine, and

possession of a stolen vehicle.

     23.     On the morning of July 19, 2020, SHERMAN met with CHS-1 and told

CHS-1 that NIXON is SHERMANs heroin supplier. SHERMAN also placed a

telephone call to NIXON in the presence of CHS-1. During the call, NIXON, using the

TARGET CELL PHONE, told SHERMAN he would bring drugs to SHERMANs


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     Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 8 of 20
 apartment that morning.

     24.     Information received pursuant to the execution of a Federal search

warrant (7:20-mj-1166-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the area of SHERMAN's apartment approximately 30

minutes after the telephone call between SHERMAN and NIXON on July 19, 2020.

Based on my training and experience, information from a Federal sea1·ch warrant ,

and information from CHS-1, I am informed and believe NIXON and SHERMAN met

on July 19, 2020 to conduct a drug tran saction.

     25.     Later on July 19, 2020, SHERMAN contacted CHS-1 and told CHS-1 to

come to SHERMANs apartment in the Cape Cottage Condominium's in Wilmington,

NC. When CHS-1 arrived, SHERMAN got into CHS-l's vehicle a nd told CHS-1 that

NIXON wanted him (SHERMAN) to "look out' for CHS-1 and make sure CHS-1 "was

straight". CHS-1 informed your affian t this was NIXON's way of telling SHERMAN

to give CHS-1 ome of the drugs SHERMAN received from NIXON. SHERMANthen

had CHS-1 drive SHERMAN to several locations in Wilmington, NC and then back

to the parking lot of SHERMAN's apartment complex. When they returned to the

apartment complex, SHERMAN gave the CHS a plastic bag containing what the CHS

believed to be heroin as well as a new box of empty glassine bags.

    26.      Immediately after leaving SHERMAN's apartment complex on July 19,

2020, CHS-1 contacted your affiant. CHS-1 then immediately met your affiant and

provided the box of empty glassine bags and the plastic bag containing a powder

substance.


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    Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 9 of 20
     27.     On or about July 20, 2020, your affiant and an FBI Task Force Officer

conducted a field test of the powder ubstance CHS-I obtained from SHERMAN on

July 19. The field test produced a presumptive positive indication for the presence of

cocaine and fentanyl. The substance was then submitted to the DEA lab for testing.

     28.     Information received pursuant to the execution of a Federal search

warrant (7:20-mj-1166-RJ) on the TARGET CELL PHONE showed the TARGET

CELL PHONE was located in the area of the Stephens Pointe Apartment Complex,

located at 8651 Stephens Church Rd, Building D, Wilmington, North Carolina, at

approximately 10:45 A.M. on July 29, 2020. Physical surveillance conducted at the

Stephens Pointe Apartment Complex at the time TARGET CELL PHONE was

located in Building D identified a black 2-door Mercedes in the parking lot which has

previously been observed by your affiant at other stash locations believed to be used

by NIXON. Surveillance also identified THOMAS walking near Building D of the

apartment complex.

    29.     On or about July 30, 2020, a Deputy with the New Hanover County

Sheriffs Office observed NIXON exit building D and get into the driver's seat of an

Acura TL registered to THOMAS and leave the apartment complex. Later, on or

about July 30, 2020, the Deputy observed NIXON return driving THOMAS's vehicle.

NIXON exited the vehicle, punched in the security code at apartment D207, and

entered the apartment.

    30.     On or about August 4, 2020, SHERMAN contacted CHS-I and told CHS-

1 that SHERMAN expected to be re-supplied with heroin by NIXON sometime during


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    Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 10 of 20
 the evening of August 4, 2020.

     31.      Information received pursuant to the execution of a Federal search

warrant (7:20-mj-1166-RJ) on the TARGET CELL PHONE and a North Carolina

(NC) State Pen Register Trap and Trace (PRTT) on 919-508-7035 (used by

SHERMAN) showed both SHERMAN and NIXON's phones were located in

approximately the same area of Wilmington, NC at approximately 10:07 P.M. on

August 4, 2020. Additionally, several telephone calls occurred between NIXON and

SHERMAN on the evening of August 4, 2020. Based on my training and experience,

information from a Federal search warrant and NC State PRTI, and information

from CHS-1, I am informed and believe NIXON and SHERMAN met on the evening

of August 4, 2020 to conduct a drug transaction.

     32.     On or about August 5, 2020, SHERMAN informed CHS-1 that NIXON

only provided SHERMAN with one ounce of heroin. SHERMAN said he would provide

some of that heroin to CHS-1.

     33.     On or about August 5, 2020, CHS-1 conducted a controlled purchase of

approximately 15.5 grams ofraw heroin from SHERMAN. SHERMAN provided CHS-

1 with a plastic bag containing a powder substance and a box of empty glassine bags.

SHERMAN told CHS-1 there were 16 grams of heroin in the bag and said CHS-1

owed SHERMAN $1,200 for the drugs.

    34.     On or about August 5, 2020, your affiant and an FBI Task Force Officer

conducted a field test of the powder substance CHS-1 obtained from SHERMAN on

August 5, 2020. The field test produced a p1·esumptive positive indication for the


                                        11



    Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 11 of 20
presence of heroin . The substance was t hen submitted to the DEA lab for testing.

     35.      On August 20, 2020, a t approximately 1:11 p.m., your affiant observed

NIXON walk out the front door of 141 N. Front Street1 and answer a cellular

telephone on his person. Your affiant reviewed a PR'IT attached to the TARGET

CELL PHONE and observed an incoming call to the TARGET CELL PHONE from

910-409-4705 on August 20, 2020, at 1:11 p.m. Information received pursuant to the

execution of a Federal sea1·ch warrant (7:20-mj-1191-RJ) on the TAR GET CELL

PHONE showed the TARGET CELL PHONE was located in the vicinity of 141 N.

Front Street on August 20, 2020 at approximately 1:00 p.m.

       36.    On or about August 23, 2020, CHS-1 received a consensually recorded

telephone call from SHERMAN using 919-508- 7035. During the call, SHERMAN told

CHS-1, "I'ma talk to Big Bro and see if he can go ahead and let you do your thing.

You know what I'm saying?" According to CHS-1, this meant SHERMAN was going

to ask NIXON to supply heroin directly to CHS-1 so that CHS-1 would not have to

use SHERMAN as a middleman.

     37.      On or about the afternoon of August 31, 2020, your affiant observed

NIXON, THOMAS, SHERMAN, JOHNNY JERMAINE JOHNSON2, RODERICK



1  During a prison call on April 7, 2020, NIXON told an unknown male he was opening a club in
downtown Wilmington named Dior's Lounge. Your affiant located an Instagram profile for "Dior's
Lounge" which states, "Dior's is a New Premier Bar lounge locate Downtown 141 N Front St.,
Wilmington C."
2
  JOHNSO N's criminal history includes convictions for murder and first-degree assault in
connection with a 1996 murder which were subsequently overturned in 2013 due to prosecutorial
misconduct. JOHNSON was released in 2013 when the State of Connecticut declined to retry
JOHNSON and his fellow co-defendants. JOHNSON was also charged with firearm by felon and
ADWWIKISI in February 2019, but these charges were dismissed in July 2020 when the victim of
the shooting refused to cooperate with the prosecution.
                                              12



    Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 12 of 20
    TYRONE SIMPSON3 , and WILLIAM JAWARAH LAMB 4 meeting in person at 141

    N. Front Street. Information received purnuant to the execution of a Federal search

    warrant (7:20-mj-1191-RJ) on the TARGET CELL PHONE showed the TARGET

    CELL PHONE was located in the vicinity of 141 N. Front Street during the

    afternoon of August 31, 2020.

        38.     Based upon your affiant's knowledge of NIXON's history as a drug

 trafficker and NIXON' use of the TARGET CELL PHONE to contact SHERMAN

 to arrange drug transactions, I am informed and believe that NIXON is using the

TARGET CELL PHONE to facilitate drug transactions. Information obtained

pursuant to the execution of t he previous search warrant for geo-location data on the

TARGET CELL PHONE has helped investigators confirm that SHERMAN and

NIXON had telephonic contact and were located in the same physical area at times

CHS-1 reported NIXON would be supplying SHERMAN with drugs. Information

obtained pursuant to the execution of the previous search warrant for geo-location

data on the TARGET CELL PHONE has also helped investigators locate NIXON

and observe NIXON meeting with other known drug traffickers. Based upon this fact,

it is probable that information related to the TARGET CELL_PHONE pertains to

illegal narcotics activity and further monitoring will continue to help investigators

identify NIXON's drug upplier, stash locations, and co-conspirators.



3 SIMPSO 's criminal history includes convictions for PWISD cocaine (1990), PWISD cocaine (1994),
Felony possession of cocaine (1994), felony possession of cocaine (1997), PWISD cocaine base greater
than 50 grams (2000) .
4
  LAMB's criminal history includes convictions for possession of cocaine (1991), PWISD cocaine
(1995), three counts of assault on government official (1995) , PWISD cocaine (1995), possession of
firearm by felon (2001), felony possession of marijuana (2010).
                                                13



      Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 13 of 20
                   TECHNICAL ASSISTANCE OF GEO-LOCATION

     39.      In my training and experience, I have learned that Veriwn Wireless is

a company that provides cellular telephone access to the general public. I also know

that providers of cellular telephone service have technical capabilities that allow

them to collect and generate at least two kinds of information about the locations of

the cellular telephones to which they provide service: (1) E-911 Phase II data, also

known as GPS data or latitude-longitude data, and (2) cell-site data, also known as

"tower/face information" or cell tower/sector records. E-911 Phase II data provides

relatively precise location information about the cellular telephone itself, either via

GPS tracking technology built into the phone or by triangulating on the device's

signal using data from several of the provider's cell towers. Cell-site data identifies

the "cell towers" (i.e., antenna towers covering specific geographic areas) that

received radio signal from the cellular telephone and, in some cases, the "sector" (i.e.,

faces of the towers) to which the telephone connected. These towers are often a half-

mile or more apart, even in urban areas and can be 10 or more miles apart in rural

areas. Furthermore, the tower closest to a wireless device does not necessarily serve

every call made to or from that device. Accordingly, cell- ite data is typically less

precise than E-911 Phase II data.

    40.      Based on my training and experience, I know that Verizon Wireless can

collect cell-site data about the "TARGET CELL PHONE." I also know that wireless

providers such as Verizon Wireless typically collect and retain cell-site data




                                          14



   Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 14 of 20
 pertaining to cellular phones to which they provide service in their normal course of

 business in order to use this information for various business-related purposes.

                             AUTHORIZATION REQUEST

     41.     Based on the foregoing, I request that the Court is ue the proposed

search warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C.

§ 2703(c), authorizing the government to obtain the information requested in

Attachment B from the TARGET CELL PHONE described in Attached A for a

period of 30 days. Authorization is ought for the telephone number for TARGET

CELL PHONE, and any other telephone number subsequently assigned to an

instrument bearing the same ThlEI number used by TARGET CELL PHONE, and

to any other IMEI number to which the telephone number for TARGET CELL

PHONE is assigned, within the thirty-day period. The authorization is also intended

to apply to TARGET CELL PHONE regardless of service provider.

     42.     I further request, pursuant to 18 U.S.C. § 3103a(b) and Federal Rule of

Criminal Procedure 41(£)(3), that the Court authorize the officer executing the

warrant to delay notice until 30 days after the collection authorized by the warrant

has been completed. There is reasonable cause to believe that providing immediate

notification of the warrant may have an adverse result, as defined in 18 U.S.C. § 2705.

Providing immediate notice to the sub criber or user of the TARGET CELL PHONE

would seriously jeopardize the ongoing investigation, as such a disclosure would give

that person an opportunity to destroy evidence, change patterns of behavior, notify

confederates, and flee from prosecl,.ltion. See 18 U.S.C. § 3103a(b)(l). As further


                                         15



    Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 15 of 20
 specified in Attachment B, which is incorporated into the warrant, the proposed

 search warrant does not authorize the seizure of any tangible property. See 18 U.S.C.

 § 3103a(b)(2). Moreover, to the extent that the warrant authorizes the seizure of any

wire or electronic communication (as defined in 18 U.S.C. § 2510) or any stored wire

or electronic information, there is reasonable necessity for the seizure for the reasons

set forth above. See 18 U.S.C. § 3103a(b)(2).

     43.      I further request that the Court direct Verizon Wireless to disclose to

the government any information described in Attachment B that is within the

possession, custody, or control of Verizon Wireless. I also request that the Court direct

Verizon Wireless to furnish the government all information, facilities, and technical

assistance necessary to accomplish ·the collection of the information described in

Attachment B unobtrusively and with a minimum of interference with Verizon

Wireless' services, and at such intervals and times directed by the government. The

government shall reasonably compensate Verizon Wireless for reasonable expenses

incurred in furnishing such facilities or assistance.

     44.     I further request that the Court authorize execution of the warrant at

any time of day or night, owing to the potential need to locate the TARGET CELL

PHONE outside of daytime hours.

      45.    I further request that the Court order that all papers in support of this

application, including the affidavit and search warrant, be sealed until further

order of the Court. These documents discuss an ongoing criminal investigation that

is neither public nor known to all of the targets of the investigation. Accordingly,


                                          16



   Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 16 of 20
there is good cause to seal these documents because their premature disclosure may

seriously jeopardize that investigation, including by giving targets an opportunity to

destroy or tamper with evidence, change patterns of behavior, notify confederates,

and flee from prosecution. Working copies of t he affidavit and search warrant may

be served on FBI Agents and other government and contract personnel acting under

the supervision of such investigative or law enforcement officers, and Verizon

Wireless as necessary to effectuate the Court's order.


                                                Respectfully submitted,



                                                    es D. Byers
                                                 pecial Agent
                                                Federal Bureau of Investigation

     On this ~      day of September, 2020, James D. Byers, appeared before me via
reliable electronic means, was placed under oath, and attested to the contents of
this Affidavit.




    UNITED STATES MAGISTRATE JUDGE




                                         17



   Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 17 of 20
                                    ATTACHMENT A


                             Property to Be Searched


       1.    The cellular telephone assigned call number (4 70) 462-9908 ("TARGET

CELL PHONE"), whose service provider is Verizon Wireless, a wireless

communications service provider that is headquartered at 180 Washington Valley

Road, Bedminster, NJ, 07921.


      2.     Records and information associated with the location of the TARGET

CELL PHONE that is within the possession, custody, or control of Verizon Wireless,

including information about the location of the cellular telephone if it is subsequently

assigned a different call number.




                                         18


   Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 18 of 20
                                  ATTACHMENT B


                           Particular Things to be Seized

    I.      Information to be Disclosed by the Provider

         All information about the location of the TARGET described in At tachment A

for a period of 30 days during all times of day and night. "Information about the

location of the TARGET CELL PHONES includes all available E-911 Phase II data,

OPS data, latitude-longitude data, and other precise location information, as well as

all data about which "cell towers" (i.e. antenna towers covering specific geographic

areas) and "sectors" (i.e., faces of the towers) received a radio signal from the cellular

telephone described in Attachment A.

         To the extent that the information described in the preVJous paragraph

(hereinafter, ' Location Information") is within the possession, custody, or cont rol

of Verizon Wireless, Verizon Wireless is required to disclose the Location

Information to the government. In addition, Verizon Wireless must furnish the

government all information, facilities, and technical assistance necessary to

accomplish the collect ion of the Location Information unobtrusively and with a

minimum of interference with Verizon Wireless' services, and at such intervals and

times directed by the government.        The government shall compensate Verizon

Wireless for reasonable expenses incurred in furnishing such facilities or assistance.

         This war1·ant does not authorize the seizure of any tangible property.        In

approving this warrant, the Court finds reasonable necessity for the seizure of the

Location Information . See 18 U.S.C. § 3103a(b)(2).

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   Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 19 of 20
II.   Information to Be Seized by the Government

      All information described above in Section I that constitutes evidence of

violations of 21 U.S.C. §§ 846 and 841 involving identified and/or unidentified

subjects.




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  Case 7:20-mj-01232-RJ Document 1-1 Filed 09/11/20 Page 20 of 20
